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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 COMMITTEE ON WAYS AND MEANS,
 U.S. HOUSE OF REPRESENTATIVES,

                        Plaintiff,

                        v.                             Case No. 1:19-cv-01974 (TNM)

 U.S. DEPARTMENT OF THE
 TREASURY, et al.,

                        Defendants,

 DONALD J. TRUMP, et al.,


 Defendant-Intervenors.


                                             ORDER

       For the reasons set forth in the accompanying Memorandum Opinion and upon

consideration of the law and the briefs and arguments of the parties, it is hereby

       ORDERED that Counterdefendant’s [133] Motion to Dismiss is GRANTED. It is also

       ORDERED that Cross-Defendants’ [135] Motion to Dismiss is GRANTED, and the

Amended Counterclaims and Cross-claims are dismissed.

       SO ORDERED.

       This is a final, appealable Order. The Clerk of Court is requested to close this case.




                                                                            2021.12.14
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Dated: December 14, 2021                              TREVOR N. McFADDEN
                                                      United States District Judge
